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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                             Eastern Division (Cleveland)

      Inez Nieves and Betsy Ramos, on be-
      half of themselves and all others simi-
      larly situated,

      Plaintiffs,                                   Case Number: 1:24-cv-01861
                                                    SECOND AMENDED
      v.                                            CLASS ACTION COMPLAINT
      Lorain County Board of Commission-            DEMAND FOR JURY TRIAL
      ers; Craig Snodgrass, in his official ca-
      pacity as Lorain County Auditor; Lo-
      rain County Land Reutilization
      Corp.; and, Lorain County Port Au-
      thority,

      Defendants,
      &
      State of Ohio,
      Intervenor-Defendant.


1.          The Fifth Amendment to the U.S. Constitution, incorporated against the

     States and their municipalities through the Fourteenth Amendment, prohibits the

     government from taking private property without paying just compensation to the

     property’s owner.

2.          For over a decade, Lorain County has violated this prohibition.

3.          The violation proceeds as follows. First, people or businesses fall behind on

     paying their property taxes—often, only a few thousand dollars in back taxes. The


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     County then takes the land via a tax deed and transfers the property via the State

     to its county land bank. The land bank then sells the property to a private buyer.

     The prior owners lose their entire interest in the property, such that a few thousand

     dollars in taxes results in the forfeiture of tens or hundreds of thousands of dollars

     in land value. That surplus value—the difference between the taxes owed and the

     fair market value of the property—is never returned to the former owner.

4.         The U.S. Supreme Court recently held, unanimously, that this practice of

     seizing the surplus value in connection with property taken to satisfy a tax lien

     violates the Fifth Amendment’s Takings Clause. Tyler v. Hennepin County, 598 U.S.

     631 (2023). More particularly, though the taking of the property to satisfy delin-

     quent taxes is itself legal, the failure to provide just compensation for the surplus

     value beyond the delinquent taxes is unconstitutional.

5.         The victims of that policy are most often poor, elderly, and vulnerable. Steal-

     ing the surplus value from these individuals is not just unconstitutional, it is un-

     conscionable.

6.         This lawsuit seeks redress for these unconstitutional, uncompensated tak-

     ings. More precisely, this suit seeks relief on behalf of a class of all victims of the

     Defendants’ property value theft.

7.         The class-action mechanism provides a clean, efficient vehicle for judicial res-

     olution of the hundreds of individual claims that would otherwise clog the courts.




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8.         It is time to end the practice of institutionalized property-value theft and to

     justly compensate many property owners in Lorain County who were victims of

     this practice.

                                   PARTIES – PLAINTIFFS

9.         Inez Nieves is a natural person resident in Lorain County, Ohio.

10.        Betsy Ramos is a natural person resident in Lorain County, Ohio.

11.        Plaintiffs, and all others similarly situated, were victims of institutionalized

     theft by the Defendants.

                                 PARTIES – DEFENDANTS

12.        Lorain County Board of Commissioners is responsible for Lorain County. See

     O.R.C. § 305.12. The County Board is the employer of Mr. Snodgrass and others

     who administer its tax scheme.

13.        Mr. Snodgrass is auditor of Lorain County and is sued in his official capacity.

     As auditor, he is the responsible official for implementing the tax forfeiture policies

     of the County.

14.        The Lorain County Land Reutilization Corp. (“Land Bank”) was incorpo-

     rated by the Lorain County Board of Commissioners under Chapter 1724 of the

     Ohio Revised Code. It may buy, sell, lease, and mortgage property in its own name

     and can sue or be sued in its own name. Its statutory purpose is to assist in “the

     reclamation, rehabilitation, and reutilization of vacant, abandoned, tax-foreclosed,




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  or other real property within the county for whose benefit the corporation is being

  organized.” O.R.C. § 1724.01(B)(2)(a).

15.     The Lorain County Land Reutilization Corp. is a component unit or operator

  of the Lorain County Port Authority.

16.     The State of Ohio intervened as a Defendant.

17.     Acting under color of state law and pursuant to its own policy choices, the

  Defendants violated the rights of Plaintiffs and all others similarly situated (the

  plaintiff class) by stealing the value in their property over and above the amounts

  legally owed for back property taxes.

                               JURISDICTION & VENUE

18.     Jurisdiction exists under 28 U.S.C. § 1331 because the Plaintiffs and the pro-

  posed Plaintiff Class are individual persons (and their estates and heirs) and entities

  (such as limited liability companies or corporations) bringing claims under the U.S.

  Constitution for violations of their civil rights by a local government. See 42 U.S.C.

  § 1983.

19.     Jurisdiction for the declaratory relief is further appropriate under 28 U.S.C.

  § 2201(a).

20.     Venue is appropriate in the Northern District of Ohio under 28 U.S.C.

  §1391(b)(1) & (2) because the Plaintiffs are residents of the Northern District of

  Ohio, the properties they formerly owned are in the Northern District of Ohio, and

  the Defendants are in the Northern District of Ohio.


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                                                  FACTS

21.      Betsy and Inez owned a home together at 125 W. 29th St., Lorain, OH 44055.

  They first bought the home in May 2006.

22.      The modest home, built in 1900, has four bedrooms, one full bathroom, and

  is located in downtown Lorain.

23.      The home and underlying property have a market value of $71,930, accord-

  ing to the County Assessor (Defendant Snodgrass), and an assessed value of

  $25,180. See Exhibit 9, Lorain County Auditor’s property report for parcel

  0201003203008.1 Zillow assigns the property a value of $93,900.2 Redfin assigns it


  1 For the court’s convenience, the following is a full list of exhibits:


      1. Lorain County “Vacant Land Application,” from the County’s website

      2. Lorain County “Land Bank FAQs,” from the County’s website

      3. Lorain County “Land Disposition Policy,” from the County’s website

      4. Lorain County “Available Parcels,” from the County’s website

      5. Lorain County Land Bank Website

      6. Judgment Entry of Forfeiture for Parcel 0201003203008

      7. Auditor’s Deed for Parcel 0201003203008

      8. Quit Claim Deed for Parcel 0201003203008

      9. Auditor’s Property Report for Parcel 0201003203008

      10. Lorain County Prosecutor’s Letter of April 17, 2025

      11. Plaintiffs’ letter of February 28, 2025, to the Lorain County Treasurer
  2 https://www.zillow.com/homedetails/125-W-29th-St-Lorain-OH-44055/34533996_zpid/



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  a value of $115,407.3

24.     Like many people struggling to make ends meet, Betsy and Inez fell behind

  on paying their property taxes. The taxes on the home were modest, only $1,453.14

  in tax year 2022. Id.

25.     Nevertheless, when they fell behind on their taxes, the County took their

  entire home. In March 2022, the County initiated judicial proceedings to foreclose

  on the home. At the time of the foreclosure, Betsy and Inez owed $15,830.44, in-

  cluding accrued taxes, delinquencies, assessments, penalties, interest, and charges.

26.     On June 22, 2022, and July 6, 2022, the Sheriff of Lorain County put the

  property up for sale on open auction dates. No one bid the minimum required.

27.     As a result, the failure to sell resulted in forfeiture of the property under

  O.R.C. § 5723.01 to the State of Ohio. Exhibit 6.

28.     On October 26, 2022, Lorain County executed the transfer of the property

  from Betsy and Inez to the State.

29.     Forfeiture to the State, however, is just a technical stop along the real road

  to the ultimate destination. Even after forfeiture to the State, Lorain County retains

  practical responsibility for determining what to do with the property.

30.     Lorain County and its Land Bank have a policy and practice of doing one of

  two things with forfeited lands. Some lands the County sells to the general public



  3 https://www.redfin.com/OH/Lorain/125-W-29th-St-44055/home/66118679



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  in an auction by the Auditor. That annual sale takes place in September. This year

  35 properties were on the list, with back taxes owed as low as $210.05.4 Ohio Re-

  vised Code Chapter 5723 sets out a process for sales of such lands forfeited to the

  state. See, e.g., O.R.C. § 5723.05 (explaining that the sales involve “lands forfeited

  to the state”).

31.      Other properties the County turns over to its county land bank, the Lorain

  County Land Reutilization Corp.5 The Land Bank could be considered functionally

  an arm of the county, or alternatively, it could be considered to make its own policy

  choices.

32.      This transfer from County to State to Land Bank has implications under

  Ohio law. In particular, O.R.C. § 5722.04(D) provides that “any lands otherwise

  forfeited to the state for want of a bid at the foreclosure sale may, upon the request

  of a county land reutilization corporation, be transferred directly to the corporation

  without appraisal or public bidding.” After that transfer occurs, Chapter 5723 is no

  longer relevant, for any subsequent disposition of the property by the land bank is

  governed by Chapter 5722, and the property no longer appears on the forfeited

  lands list of properties for sale under O.R.C. § 5723.04. See O.R.C. § 5722.15(A)



  4 https://auditor.loraincounty.com/auditor/cms/files/File/Audi-

  tors%20Land%20Sale/2024/2024%20Auditor%20Land%20Sale%20and%20Rules.pdf
  5 See Lorain County Land Bank FAQs (Exhibit 2): “Lorain County Land Bank will sometimes

  choose to hold property that has potential to be redeveloped; either because it is contiguous to
  other Land Bank owned property, has economic development or potential for public purpose.”
  https://oh-loraincounty.civicplus.com/DocumentCenter/View/534/Land-Bank-FAQs-PDF

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  (explaining that when a land bank receives “land under section 5722.03 or 5722.04

  of the Revised Code, the county auditor shall remove from the auditor’s tax lists

  and duplicates all taxes, assessments, charges, penalties, and interest that are due

  and payable on the land at the time of the sale in the same manner as if the property

  had been sold to any other buyer at the foreclosure or forfeiture sale”). For purposes

  of Chapter 5723, including O.R.C. § 5723.11 governing the disposition of surplus

  when “forfeited lands are sold for a greater sum than the amount of the tax, assess-

  ment, penalty, interest, and costs of sale,” the transfer of property from the State to

  the land bank generates no surplus that can be obtained by the original owner. See

  O.R.C. § 5723.04(B) (“[T]he land is deemed sold by the state for no considera-

  tion.”).

33.      According to the Defendants’ website, “The Primary function of the County

  Land Bank is to serve as a facilitator for the return of vacant, abandoned, and tax

  foreclosed property to productive tax paying economic uses or to beneficial public

  uses.” Exhibit 5.

34.      Indeed, of the various ways that properties come into the land bank, most

  often it is through tax foreclosure (i.e., forfeiture): “The Land Bank acquires prop-

  erties through tax foreclosure, gifts, negotiated purchase, donations and Deed in

  lieu of foreclosure. The most common means will be tax foreclosure.” Lorain




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  County Land Bank FAQs, Exhibit 2.6 Accord Carissa Woytach, Lorain County looks

  to tackle affordable housing in strategic plan, The Chronicle-Telegram (May 14,

  2024).7

35.      Though technically a separate non-profit corporation, the Land Bank is func-

  tionally an instrument of county government. It was created at the behest of the

  County Board. Of its five board members, four are county officials (the fifth is the

  mayor of Lorain). The County Administrator is its director, and its three staff mem-

  bers are the County ports director, the county assistant prosecutor, and the clerk

  of the County Board (who is the Land Bank’s corporate secretary). Exhibit 5. Its

  day-to-day operations are run by the County Port Authority.

36.      When the Land Bank transfers property, it claims exemption from the real

  estate transfer fee as an instrumentality of government. The County exercises pol-

  icy discretion under O.R.C. § 5722.04 to pick and choose which properties it wants

  to take through the Land Bank. The Land Bank also exercises policy discretion

  under O.R.C. § 1724.02 in performing its statutory duties.

37.      According to the court record in their foreclosure case, Betsy and Inez’s

  home is one property that was tax foreclosed, forfeited to the state for lack of bids

  under O.R.C. Chapter 5723, then transferred into the Land Bank under O.R.C.




  6 https://oh-loraincounty.civicplus.com/DocumentCenter/View/534/Land-Bank-FAQs-PDF
  7 https://chroniclet.com/news/391047/lorain-county-looks-to-tackle-affordable-housing-in-

  strategic-plan/

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  § 5722.04. See Exhibit 7; accord Defendants Lorain County and Craig Snodgrass’s

  Joint Motion to Dismiss, ECF 7, at 1.

38.     The Land Bank listed the property for sale.8 This sale was not governed by

  Ohio Revised Code Chapter 5723, including § 5723.11 about the disposition of any

  surplus from a Chapter 5723 sale. Chapter 5723 is “a statutory procedure estab-

  lished to sell forfeited lands for purposes other than land reutilization programs.”

  1991 Ohio Op. Att’y Gen. 2-143 (1991). Once “a deed to particular lands has been

  executed and delivered to [a land bank] pursuant to R.C. 5722.04, those lands are

  no longer forfeited lands and are not subject to sale under R.C. 5723.05.” Id.; see

  O.R.C. § 5722.15(A).

39.     Rather, the Land Bank’s sale of the Plaintiffs’ property was governed by

  Chapter 5722, which lets the land bank sell the property, O.R.C. § 5722.07, and

  retain “[a]ll proceeds from the sale” “without further reporting or accounting to

  the taxing districts,” O.R.C. § 5722.08. See generally 2015 Ohio Op. Att’y Gen. No.

  2015-005 (Feb. 11, 2015) (explaining the distinction between “the forfeiture stat-

  utes in R.C. Chapter 5723” and “the foreclosure statutes codified in R.C. Chapters

  323, 5721, or 5722”).

40.     The Land Bank sold the property on July 24, 2024, to All American Home

  Renovations, LLC, which now owns it. Exhibits 8, 9, and 10.


  8 https://www.loraincountyohio.gov/DocumentCenter/View/3279/LCLRC--Available-Par-

  cels-PDF?bidId=

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41.     When the Land Bank sells property, it does so in accord with its “Land Dis-

  position Policy.” Any purchaser can purchase the property provided they meet cer-

  tain basic criteria (like not having any tax debts themselves). Exhibits 1-3.

42.     According to the policy, “The following factors shall be taken into consider-

  ation when determining the appropriate sale price for all parcels: . . . .” Exhibit 3.

  The first factor is “[t]he market value currently assigned by the Lorain County

  Auditor.” Exhibit 3. In this instance, the market value assigned by the Auditor, Mr.

  Snodgrass, is $71,930.

43.     Despite that policy, the Land Bank sold the property to All American for

  $5,000 on or about July 23, 2024. Exhibit 10.

44.     A taking in violation of Tyler occurred when the County took the entire prop-

  erty on behalf of the State and then transferred it to the Land Bank without provid-

  ing Betsy and Inez with the difference between the taxes they owed and the prop-

  erty’s fair market value. Had the property sold at auction, they would have been

  entitled by law to the difference between the sale price and the taxes owed. O.R.C.

  § 5721.20; see O.R.C. § 5723.11. Because the property did not sell initially, but was

  transferred via the State to the Land Bank, which then sold it to a house-flipper for

  cheap, the Plaintiffs receive nothing.

45.     To be clear, Plaintiffs do not challenge the foreclosure judgment as to their

  property. Their claim is that the Defendants took their property without furnishing




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  them just compensation for the surplus value of their property. See generally Knick

  v. Twp. of Scott, 588 U.S. 180 (2019) (takings claim accrues at time of taking).

46.      The Defendants exercise their policy discretion to transfer the property to

  the Land Bank without returning the surplus value to the property owner.

47.      On February 28, 2025, the plaintiffs, pursuant to court order, asked the Lo-

  rain County Treasurer by letter to pay them the difference between the property’s

  sale price and the back taxes owed. Exhibit 11. The Prosecutor, in a letter sent on

  behalf of the Treasurer, denied the request. See Exhibit 10.

                                   PLAINTIFF CLASS

48.      A class action is the simple, efficient way to ensure that all Lorain County

  homeowners and small businesses that have been victims of this theft receive just

  compensation for the gross violation of their constitutional and legal rights.

49.      To that end, Plaintiffs bring this action on behalf of themselves and all others

  similarly situated pursuant to Federal Rule of Civil Procedure 23, particularly Rule

  23(a) and (b), on behalf of the following Class:

      All persons, natural and legal, and their successors and heirs, who meet the fol-
      lowing criteria: (1) they owned or were the beneficial owners of real property in
      Lorain County; (2) their property was subject to a tax forfeiture by the county;
      (3) the property did not sell at a tax auction and so was forfeited; (4) the fair
      market value of the property at the time of forfeiture exceeded the full amount
      of taxes, fees, interest, and charges owed on the property.

50.      Plaintiffs believe that the Class can be ascertained on a consistent, fair, all-

  properties basis. The only information necessary would be the taxes and fees owed



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  (which the Defendants would know) and the fair market value of the property at

  the time of foreclosure (which can be determined and applied on a classwide basis

  using a formula or method or database validated in an expert report).

51.      Excluded from the Class is any judge or magistrate presiding over this case

  and their family members and staff. Plaintiffs reserve the right to modify the class

  definition as the case unfolds and further facts are discovered.

52.      Upon information and belief, the Plaintiff Class includes hundreds of people

  and companies whose homes or business properties were taken through a tax deed

  and pushed into the Land Bank. The most recent data available indicates that Lo-

  rain County has 216 properties for sale through the Land Bank (Exhibit 4)9, and

  has had similar numbers for the past decade. Bringing such suits individually would

  clog the courts, whereas a single class proceeding would result in an efficient adju-

  dication, such that the requirement of numerosity is met. The information as to

  who belongs to the class and their contact information can be discerned from data

  held by the Defendants.

53.      There are questions of law and fact common to all members of the Class. All

  have been subject to the same process laid out by Ohio law and the Defendants’

  policies.

54.      The questions of law are common across the Class:


  9 https://www.loraincountyohio.gov/DocumentCenter/View/4198/LCLRC--Available-Par-

  cels-PDF?bidId=

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  • Does the Defendants’ policy of executing a tax deed where surplus value was
    not returned to the property owner constitute a taking without just compensa-
    tion under the Fifth Amendment?

  • Does the Defendants’ policy of imposing punitive sanctions in the form of seized
    surplus value far in excess of the back taxes owed violate the Eighth Amend-
    ment?

55.     The questions of fact are also simple: Were the Class members stripped of

  their property by a county tax deed? And did the fair market value of their property

  exceed the back taxes and interest owed on the property?

56.     Once the law and facts are resolved, the question is simply how to return to

  the Plaintiff Class the amount stolen from them by the Defendants.

57.     The claims are typical across the entire class: all members of the Plaintiff

  Class were the victims of the same policies administered by the Defendants.

58.     Plaintiffs will fairly and adequately protect the interests of the Class. All

  Plaintiffs are members of the Class. Plaintiffs have no interests adverse to the in-

  terests of the Class. Plaintiffs are committed to prosecuting this action and have

  retained competent, experienced counsel who have had substantial success prose-

  cuting class action cases and claims based on constitutional law.

59.     Questions of law or fact common to the Class predominate over questions

  affecting individual members of the class, as the only individualized question—the

  size of the surplus taken from any given class member—can be quickly and easily

  determined applying the expert report to the County’s data.




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60.     A class action is the optimal vehicle to fairly and efficiently resolve the ques-

  tion of property value theft for its victims in Lorain County. The alternative is

  dozens or hundreds of individual lawsuits, which would clog the courts. Moreover,

  such lawsuits are unlikely to the extent that the Plaintiff Class is overwhelmingly

  composed of low-income and elderly residents and those for whom English is a

  second language, such that the class action is the optimal vehicle for achieving jus-

  tice for the greatest number of persons. A class action ensures all victims of prop-

  erty theft are justly compensated without burdening the courts or Defendants with

  numerous lawsuits.

       DAMAGE TO PLAINTIFF CLASS BEYOND THE STOLEN VALUE

61.     Home ownership is a core pillar of the American dream. Home ownership is

  correlated with physical health, mental and emotional health, financial prosperity,

  a secure retirement, and a solid family life. See Luke A. Munford, et al., Is owning

  your home good for your health? Evidence from exogenous variations in subsidies in Eng-

  land, 39 Economics and Human Biology 100903 (2020).

62.     When members of the Plaintiff Class lose their entire home value, they are

  literally forced out on the streets with nothing. It is virtually impossible for them

  to move into a new home when they have zero money for a down payment after all

  their equity has been stolen by their government. They end up in apartments, on

  the couches of friends and neighbors, or on the streets. Their children are forced to

  move schools, and their entire lives are disrupted. The loss of a home to foreclosure


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  correlates to mental and emotional strain, a decline in physical health, a decline in

  academic achievement for students in the home, and a multi-generational loss of

  wealth. See Alexander C. Tsai, Home foreclosure, health, and mental health: a systematic

  review of individual, aggregate, and contextual associations, 10 PloS one e0123182

  (April 7, 2015).

63.     Loss of a home is not just about its immediate effects: it is also about the loss

  of dignity. Homeownership is a mark of pride, of responsible membership in the

  community, of citizenship in a neighborhood, of stake in a place. It represents a

  tremendous blow to a person’s standing in the community to be forced out on the

  street after a foreclosure. Gregory S. Alexander, Property, Dignity, and Human

  Flourishing, 104 Cornell L. Rev. 991 (2019).

64.     The same is true for those who lose commercial properties. An owner-occu-

  pied duplex, a family-run restaurant, or a small business already live on the nar-

  rowest of margins. The loss of all value in a commercial property can bankrupt a

  small business. The owner of that business has to lay off employees, cancel vendor

  contracts, and stop serving customers. An entire community is affected.

                UNCONSCIONABLE BEHAVIOR BY DEFENDANTS

65.     The Defendants’ cavalier attitude towards the constitutional rights and hu-

  man dignity of the Plaintiff Class is outrageous, displaying a consistent indifference

  that shocks the conscience. For starters, one would think it obvious that intentional

  government-organized theft on a massive scale would be wrong, plain and simple.


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  But numerous academic and advocacy reports made Ohio state and local govern-

  ments aware that their policies were outrageous and especially damaging to their

  most vulnerable populations: the elderly, communities of color, and those who

  speak English as a second language. Yet they chose to persist in these policies even

  knowing of their effects.

66.     One of the nation’s premier academic experts in this area finds “greed and

  cruel indifference to their victims” pervasive in the tax foreclosure industry. An-

  drew W. Kahrl, Unconscionable: Tax Delinquency Sales as a form of dignity taking, 92

  Chicago-Kent L. Rev. 905, 932 (2017). As Professor Andrew Kahrl of the Univer-

  sity of Virginia points out in an article for the Chicago-Kent Law Review, “Because

  minority neighborhoods have historically been subject to discriminatory overtax-

  ation and lower property values as result of segregation and ‘redlining,’ African

  American homeowners have been and remain more vulnerable to predatory tax

  buying.” He continues, “Tax buying has inflicted a significant, if underappreciated,

  economic toll on black America. It contributed, in no small measure, to the precip-

  itous decline of black landownership over the second half of the twentieth century

  (from over 15 million acres in 1910 to 2.3 million acres in 1997), prevented African

  American communities from becoming partners in and beneficiaries of real estate

  development in some of America’s most vibrant markets, accelerated the deterio-

  ration of urban minority neighborhoods and stymied efforts at recovery, and exac-

  erbated the racial wealth gap. It has also left deep emotional scars on victims,


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  robbing them of their dignity in the course of taking—or threatening to take—

  their property.”

67.     “To homeowners facing eviction, predatory tax buying was a cruel, vicious,

  indeed unconscionable, act.” Id. at 923. He concludes, “It is unconscionable, but

  perhaps not surprising, that many states allow private investors to take someone

  else’s property and all of its equity over a debt that often originates from an accident

  or oversight.” Id. at 933.

68.     Institutionalized value theft preys upon the elderly in particular. A 2012 re-

  port from the National Consumer Law Center notes, “Homeowners most at risk

  are those who have fallen into default because they are incapable of handling their

  financial affairs, such as individuals suffering from Alzheimers, dementia, or other

  cognitive disorders.” The Other Foreclosure Crisis, Nat. Consumer Law Center (July

  2012).10

69.     Institutionalized value theft also disproportionately affects communities of

  color. An article from the Center for Community Progress notes, “In many com-

  munities, delinquent property tax enforcement systems also unfairly burden com-

  munities of color. In Baltimore, investigative reporters recently found that proper-

  ties in the city’s majority-Black census tracts have tax liens that are sold at much

  higher rates than minority-Black census tracts. In Washington, DC, investigative



  10 https://www.nclc.org/wp-content/uploads/2022/09/tax-lien-sales-report.pdf



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  reporters found that Black homeowners disproportionately lost their homes to tax

  foreclosure and researchers have found that tax foreclosures can contribute to gen-

  trification by displacing homeowners of color.” Libby Benton, Delinquent Property

  Tax Enforcement Could Be the Missing Piece in Fighting Vacant Properties, Center for

  Community Progress (Feb. 21, 2023).11

70.     Bloomberg reports similarly that “Generations of Black Americans lost their

  land to tax liens.” Margaret Newkirk, Bloomberg (June 29, 2022).12

71.     Finally, upon information and belief, Defendants have continued executing

  tax deeds in the wake of Tyler. The State of Ohio has not changed its statutes in the

  wake of Tyler. Any tax deed foreclosure that stole property value after May 25,

  2023, the date that Tyler was issued, demonstrates utter and reckless disregard for

  the constitutional rights of persons in the Plaintiff Class.

                                           CLAIMS

               Count I: The Defendants have an established policy and
                practice of taking property without just compensation
                         in violation of the U.S. Constitution.

72.     Plaintiffs incorporate the preceding paragraphs of this Complaint as if fully

  set forth herein.




  11 https://communityprogress.org/blog/delinquent-property-tax-enforcement-could-be-the-

  missing-piece-in-fighting-vacant-properties/
  12 https://www.bloomberg.com/news/features/2022-06-29/tax-liens-cost-generations-of-

  black-americans-their-land

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73.     The Fifth Amendment to the U.S. Constitution, as incorporated against the

  States by the Fourteenth Amendment, forbids counties to take property without

  just compensation. As the Supreme Court held in Tyler, a taxing authority effects

  an uncompensated (and thus unconstitutional) taking when, it keeps the surplus

  value after enforcing a tax lien.

74.     Here, the Defendants took property from the Plaintiffs and the class mem-

  bers by retaining surplus value at the point of taking.

75.     Under Tyler, the taking and retention of that surplus value violates the Fifth

  Amendment’s Takings Clause.

76.     The surplus value taken from the Plaintiff Class must be returned to them

  by the Defendants.

77.     The emotional, psychological, and physical health effects of the loss of one’s

  home are also damages that should be rectified.

78.     That taking is a violation of constitutional rights subject to recompense un-

  der Section 1983.

               Count II: The Defendants have an established policy and
                 practice of imposing excessive fines and forfeitures
                         in violation of the U.S. Constitution.

79.     Plaintiffs reallege and incorporate by reference the allegations set forth

  above as if fully set forth herein.




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80.        The Defendants are barred by the Eighth Amendment to the U.S. Constitu-

  tion, as incorporated by the Fourteenth Amendment, from imposing excessive

  fines.

81.        The Defendants’ policy choices to take the surplus value from delinquent

  property taxpayers are, at least in part, a punitive policy designed to punish law-

  breakers and to disincentivize others from lawbreaking.

82.        Excessive fines are disproportionate fines. See Timbs v. Indiana, 586 U.S. 146,

  153 (2019).

83.        “[T]he Excessive Fines Clause limits the government’s power to extract

  payments, whether in cash or in kind, as punishment for some offense. . . . a fine is

  unconstitutionally excessive under the Eighth Amendment if its amount is grossly

  disproportional to the gravity of the defendant's offense.” Pimentel v. City of Los

  Angeles, 966 F.3d 934, 937 (9th Cir. 2020) (cleaned up). The Clause applies not only

  to criminal forfeitures, but also civil forfeitures and municipal fines. Id.

84.        The Supreme Court, in its seminal modern case on excessive fines, consid-

  ered an instance where a traveler attempted to board an international flight with

  $357,144, in violation of the federal law requiring reporting of any transportation

  of more than $10,000 outside the United States. Id. (discussing United States v. Ba-

  jakajian, 524 U.S. 321 (1998)). The Supreme Court found it an excessive fine to

  impose a forfeiture of the entire $357,144 that Mr. Bajakajian attempted to

  transport.

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85.     Here, the single offense of failure to pay property taxes, which may go as low

  as a few hundred dollars, results in a sanction equivalent to the entire fair market

  value of a property, which may reach millions of dollars. This is unconstitutionally

  disproportionate in violation of the Eighth Amendment’s excessive-fines clause.

86.     Plaintiffs forfeited four or more times the cost of their unpaid taxes, in the

  gap between their taxes owed and the fair market value of their property.

87.     Plaintiffs represent the overall experience of the Plaintiff Class, that the De-

  fendants consistently imposed forfeitures far in excess of the underlying amounts

  involved.

88.     18 U.S.C. § 1983 allows for the recovery of damages from these Defendants

  for violations of federal constitutional rights.




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                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, on behalf of themselves and the Plaintiff Class,

  respectfully request that the Court:

89.     Certify the Plaintiff Class, designate the Plaintiffs as representatives of the

  Plaintiff Class, and appoint the undersigned as Class Counsel;

90.     Pursuant to the Declaratory Judgment Act (28 U.S.C. §2201 and Fed. R. Civ.

  Proc. 57), provide relief by declaring that the policy of uncompensated seizure of

  surplus value in property by the Defendants is unlawful under the Fifth Amend-

  ment to the U.S. Constitution;

91.     Pursuant to the Declaratory Judgment Act (28 U.S.C. §2201 and Fed. R. Civ.

  Proc. 57), provide relief by declaring that the punitive policy of uncompensated

  seizure of surplus value in property by the Defendants is unlawful as an excessive

  fine under the Eighth Amendment to the U.S. Constitution;

92.     Award Plaintiffs and the Plaintiff Class just compensation for the unconsti-

  tutional taking of their property, namely the difference between the back taxes and

  interest owed and the fair market value of their property;

93.     Award Plaintiffs and the Plaintiff Class just compensation for the unconsti-

  tutional excessive fines imposed, namely the difference between the back taxes and

  interest owed and the fair market value of their property, with interest;

94.      Award the Plaintiffs and Plaintiff Class nominal damages for the violation

  of their federal constitutional rights;


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95.     Award the Plaintiffs and the Plaintiff Class reasonable attorney’s fees and

  costs, as provided by law;

96.     Grant the Plaintiffs and the Plaintiff Class such other relief as is just and

  proper to recognize their claims and protect their rights to just compensation and

  appropriate damages.

  Respectfully submitted,

  /s/ Joseph P. Ashbrook
  Benjamin M. Flowers (OH# 0095284)
  Joseph P. Ashbrook (OH# 0091279)
  Ashbrook Byrne Kresge Flowers LLC
  PO Box 8248
  Cincinnati, OH 45249
  Phone: 513-201-5775
  Fax: 513-216-9882
  bflowers@abkf.com
  jpashbrook@abkf.com

  Daniel R. Suhr
        (admitted pro hac vice)
  Hughes & Suhr LLC
  747 N. LaSalle St., Suite 210
  Chicago, IL 60654
  Phone: 414-588-1658
  dsuhr@equitylawsuit.com

  Christopher E. Mills
        (admitted pro hac vice)
  Spero Law LLC
  557 East Bay St. #22251
  Charleston, SC 29413
  Phone: 843-606-0640
  cmills@spero.law




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                         CERTIFICATE OF SERVICE
      I certify that, on May 16, 2025, I caused the foregoing to be served on all
parties through the Court’s e-distribution system.

                                             /s/ Joseph P. Ashbrook
                                             Benjamin M. Flowers (OH# 0095284)
                                             Joseph P. Ashbrook (OH# 0091279)
                                             Ashbrook Byrne Kresge Flowers LLC
                                             PO Box 8248
                                             Cincinnati, OH 45249
                                             Phone: 513-201-5775
                                             Fax: 513-216-9882
                                             bflowers@abkf.com
                                             jpashbrook@abkf.com




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